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Message

From: Jack Abramoff

Sent: 10/18/2015 3:18:30 PM
To: compliance@ atencoin.com
Subject: RE: agreement

Thanks Marcus,

|am grateful that we had a chance to meet and | wish you the very best on the project, but ! am going to have to pass on
this opportunity. | hope our paths cross again in the future.

Fondest regards,

Jack

From: compliance @atencoin.com [mailto:compliance@atencoin.com]
Sent: Friday, October 16, 2015 7:39 PM

To: Jack Abramoff

Subject: Re: agreement

Hello Jack,
Please note when | am speaking to you right now, | am speaking to you as a friend and a brother.

Unfortunately | am unable to accept the terms of the agreement for many reasons. If | do, | will not only lose the
support of the investment bankers, but the support of my team and our coin holders.

The contract is more of a lobbyist advisor and not of a lobbyist. For a lobbyist advisor we would pay a straight fee
and not give the 10 percent of our company. Our company went from 37 Million dollar vaulation to a 140 Million
dollar valuation.

| know the agreement is not your wording, you are not that type of person.

Jack, just know if you are ever in a bind and need my help, me and my family are here for you. Regardless if you
have a dollar in your pocket or not.

| am open to having you on board as an advisor only and nota lobbyist.
Wish you the best. Unlike most people, | don't care about what you have or don't have.
Thank you friend,

Marcus Andrade

Quoting Jack Abramoff {qa :

Hi Marcus,

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
TRIAL EXHIBIT 1092
CASE NO.: CR 20-249 RS

DATE ENTERED
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EX1092-001

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| reviewed the draft terms sheet and found it wanting in terms of what | am willing to do. | have crafted an engagement
Agreement (attached) which incorporates many of the terms of your draft, but includes those items that | want as

well. | have also attached, as part of that Agreement, a draft letter for Congress to sign, as a predicate for my
involvement with you. If you want alterations in either document, please send them to me so we can finalize things are
get moving. Once we have reached agreement, | will print out a signature copy.

Looking forward to moving forward and to helping you build the company into a behemoth!
Fondest regards,

Jack

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